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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


ISRAEL SANCHEZ, Individually and On Behalf Case No. 4:17-cv-00806-AGF
of All Others Similarly Situated,

                  Plaintiff,

     v.

CENTENE CORP., MICHAEL F. NEIDORFF,
and JEFFREY A. SCHWANEKE,

                  Defendants.




                CONSOLIDATED CLASS ACTION COMPLAINT
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          Lead Plaintiff Louisiana Sheriffs’ Pension & Relief Fund alleges the following based upon

personal knowledge as to itself and its own acts and upon information and belief as to all other

matters. Lead Plaintiff’s information and belief are based on the investigation of their undersigned

counsel. This investigation includes review and analysis of: (i) Centene Corporation (“Centene”

or the “Company”) and Health Net, Inc. (“Health Net”) public filings with the U.S. Securities and

Exchange Commission (“SEC”); (ii) research reports by securities and financial analysts; (iii)

transcripts of Centene’s and Health Net’s conference calls with analysts and investors;

(iv) Centene and Health Net presentations, press releases, and reports; (v) Centene and Health Net

marketing material; (vi) news and media reports concerning Centene, Health Net, and other facts

related to this action, including Health Net’s cessation of payments to substance abuse treatment

facilities; (vii) video interviews of Centene executives; (viii) Centene’s and Health Net’s filings

with state regulatory bodies; (ix) accounting rules, standards and concepts, including Generally

Accepted Accounting Principles (“GAAP”); (x) price and volume data for Centene securities; (xi)

information from consultations with experts; (xii) pleadings in lawsuits arising from Health Net’s

insurance policies; and (xiii) additional material and data concerning the Company, as identified

herein.

I.        INTRODUCTION

          1.     Centene sells health insurance, including Medicaid policies and individual policies

on the exchanges established under the Affordable Care Act (“ACA”). Lead Plaintiff brings this

class action against the Company and two of its top officers, Michael Neidorff (its long-time CEO,

Board Chairman, and President) and Jeffrey Schwaneke (Centene’s CFO and former Chief

Accounting Officer). The case arises from Defendants’ false and misleading statements regarding

Centene’s merger with California-based Health Net, and the Company’s understatement of Health

Net’s liabilities by approximately $400 million. Lead Plaintiff asserts claims pursuant to Sections

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10(b) and 20(a) of the Securities Exchange Act of 1934 on behalf of itself and all other purchasers

of Centene common stock between April 26, 2016 and July 25, 2016 (the “Class Period”).

       2.      On July 2, 2015, Centene announced that it had entered into a merger agreement

with Health Net whereby Centene would purchase all of Health Net’s outstanding stock. At the

time, Health Net was a health insurance company that offered policies principally in California

and Arizona. Centene repeatedly emphasized to investors that the acquisition of Health Net would

help Centene expand its business into such new markets – particularly in California.

       3.      Both before and after the merger announcement, Centene, its lawyers and its

accountants conducted extensive due diligence into all aspects of Health Net’s business and

finances. The due diligence and Centene’s integration with Health Net began no later than June

2015 and proceeded for months as the companies worked to obtain necessary regulatory approval

for the merger from state insurance departments, including in California and Arizona. While

Defendants initially expected that the merger would close by February 1, 2016, the merger was

delayed pending approval from California insurance regulators. The merger closed on March 24,

2016, just days after California regulators approved the merger subject to at least 10 specific

conditions.

       4.      Throughout the nine-month period starting from Centene’s pre-merger due

diligence in Health Net’s offices until the merger’s close, Centene issued abbreviated statements

of Health Net assets and the liabilities that Centene had agreed to acquire in the merger. Centene

included in these abbreviated accounting figures statements indicating that Centene did not have

“full access to information about Health Net’s intangible assets.” By April 2016, however, the

Company had full access to information. On April 26, 2016, over a month after the merger’s close,

Centene reported a full accounting of the acquired assets and liabilities.



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       5.      After reporting the value of the acquired Health Net business, Defendants

repeatedly assured investors that the Company had set aside adequate monetary reserves to pay

insurance claims, including on Health Net’s policies. As late as June 17, 2016, Defendants stated

that investors should not have “any concerns . . . regarding Health Net’s reserves prior to the March

24[, 2016] closing date,” that Defendants “ensure[d] the adequacy of medical claims reserves,”

and that the Company had not experienced “unfavorable development” on Health Net’s reserves

as Defendants had not “seen any development on anything prior to [March] 24[, 2016].”

Defendant Schwaneke stated that “[w]e were obviously focused on [the] opening balance sheet

and what we acquired” and Defendant Neidorff insisted that “the Health Net reserve issue stops at

March 24[, 2016].” Defendants further indicated that they were improving Health Net’s business,

“implementing some best practices of Centene in terms of claims and medical management with

a particular focus on California.”

       6.      Unknown to investors at the time, however, Centene’s statements regarding Health

Net’s value and reserves were false and misleading. In 2014 and throughout 2015, Health Net had

experienced dramatic increases in claims on its policies that caused its liabilities to balloon. Health

Net policies were losing millions of dollars because the policies featured generous allowances for

claims that patients accessed throughout this time period. In response, Health Net and Centene

took drastic measures leading up to the merger. In approximately November 2015, Health Net’s

payments to substance abuse treatment centers became sporadic. In January 2016, Health Net

halted payments to numerous health providers in an effort to stem the tide of rising liabilities.

Before the merger closed in March 2016, Centene’s executives recognized “obvious” design flaws

in Health Net’s insurance policies that led to increased liabilities, and asked California regulators

for permission to re-design the policies so that Health Net would not suffer such large policy losses.



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       7.      On July 26, 2016, the truth was revealed. Centene was forced to disclose $390

million in liabilities in the Health Net business which existed as of the March 24, 2016 merger

date, but which Centene had concealed throughout the Class Period. The increased liabilities were

massive in context, dwarfing Health Net’s entire annual pre-tax earnings in recent years, and

reducing Centene’s cash flows by the same amount. As analysts noted, “the simple math” was

that “Health Net’s earnings really were overstated . . . when [Centene] bought it.” Defendants also

admitted that they had long known of the issues disclosed on July 26, 2016. Defendant Neidorff

admitted that “[t]his is something we inherited. And it was prior to the 24th [of March] when those

things were set.” Neidorff stated that he had “personally been involved in and pushing and

discussing” changes to the policy plan design, as Centene had been “working with the states at the

highest levels to redesign” the policies. During a televised interview on Jim Cramer’s Mad Money

program, Neidorff admitted that “before [Defendants] closed” the merger, Defendants “knew” that

the California policies “had a bad product design” and “knew this when we bought [Health Net].”

       8.      Defendants attempted to diminish the impact of the disclosures by accounting for

the increased liabilities using “purchase accounting,” but Defendants’ disclosures on July 26, 2016

revealed that Defendants’ financial statements were false, and that Defendants had violated GAAP

rules and standards as well as SEC regulations.

       9.      Centene’s stock plunged in response to the disclosures. On July 26, 2016, the stock

price declined by approximately 8.5%, erasing over $1 billion in shareholder value. Analysts also

responded to the disclosures, calling into question Defendants’ “credibility” and noting that it was

“troubling” that Centene had made “no mention of the challenges or pricing steps taken to rectify

the issues” that caused the increased liabilities. Analysts further concluded that the Company’s




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“disclosures . . . reveal that [Health Net] was likely descending towards a much tougher earnings

situation on a standalone basis than previously suggested by [management].”

        10.     By this action, investors seek redress for Defendants’ violations of the federal

securities laws.

II.     JURISDICTION AND VENUE

        11.     This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa. In addition, because this is a civil action arising under

the laws of the United States, this Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337.

        12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act, 15 U.S.C. § 78aa. Centene is headquartered and conducts business in this

District, and many of the acts and transactions that constitute violations of law complained of

herein, including the dissemination to the public of false and misleading statements of material

facts, occurred in this District.

        13.     In connection with the acts alleged herein, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including but not limited to the mails,

interstate telephone communications, and the facilities of a national securities exchange.

III.    THE PARTIES

        A.      Plaintiff

        14.     On May 1, 2017, the Court appointed Louisiana Sheriffs’ Pension & Relief Fund

(“Louisiana Sheriffs”) as Lead Plaintiff pursuant to 15 U.S.C. § 78u-4(a)(3)(B). Louisiana Sheriffs

is a multi-employer, defined benefit, governmental retirement plan providing retirement, disability

and death benefits to approximately 20,000 active and retired employees of the sheriff’s offices in

all 64 Louisiana parishes. As set forth in the certification previously filed with the Court,

Louisiana Sheriffs purchased Centene common stock during the Class Period and suffered

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damages as a result of the violations of the federal securities laws.

       B.      Defendants

       15.     Defendant Centene Corporation is incorporated in Delaware and maintains its

headquarters at 7700 Forsyth Boulevard, St. Louis, Missouri 63105. The Company’s common

stock traded in an efficient market on the New York Stock Exchange (“NYSE”) under the ticker

symbol “CNC.” Centene sells health insurance in several states in the United States, including

Medicaid contracts, Medicare Advantage offerings, Medi-Cal, and certain commercial policies.

       16.     Defendant Michael F. Neidorff is, and was at all relevant times, Centene’s Chief

Executive Officer (“CEO”), Chairman, and President. Defendant Neidorff signed Centene’s

annual reports on Form 10-K for the fiscal years 2014 to 2016, and also signed the Company’s

interim quarterly financial reports on Form 10-Q during the Class Period.

       17.     From 2008 until March 24, 2016, Defendant Jeffrey A. Schwaneke was Centene’s

Chief Accounting Officer, Corporate Controller, and Senior Vice President. On March 24, 2016,

Schwaneke was appointed Centene’s Chief Financial Officer, Executive Vice President, and

Treasurer. Defendant Schwaneke signed Centene’s annual reports on Form 10-K for the fiscal

years 2014 to 2016. Schwaneke also signed the Company’s Form 10-Q dated April 26, 2016,

identifying himself as the Company’s “principal financial and accounting officer.” On April 28,

2016, the Company announced the appointment of Christopher Isaak as Centene’s Chief

Accounting Officer, effective immediately. Schwaneke also signed the Company’s Form 10-Q

filed on July 26, 2016.

       18.     Defendants Neidorff and Schwaneke are collectively referred to hereinafter as the

“Individual Defendants.” The Individual Defendants possessed the power and authority to control

the contents of Centene’s reports to the SEC, press releases, and presentations to securities

analysts, money and portfolio managers, and investors. Each of the Individual Defendants was

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provided with copies of the Company’s reports, press releases, and videos alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected.

IV.    SUMMARY OF THE ACTION

       A.      Leading Up To The Merger Announcement,
               Health Net Incurred Escalating Claims

       19.     Before it was acquired by Centene, Health Net was a publicly-traded company that

sold health insurance policies. As of December 31, 2015, Health Net provided and administered

health benefits to approximately 6.1 million individuals in the United States. Health Net offered

behavioral health, substance abuse and employee assistance programs and managed health care

products related to prescription drugs.     Health Net’s business was largely concentrated in

California.

       20.     By 2013, the Affordable Care Act (“ACA”) imposed certain requirements on health

insurance sellers such as Health Net. One requirement was that certain individual health insurance

policies include coverage for medical conditions related to substance abuse. Calendar year 2014

was the first full calendar year of full ACA market reform implementation.

       21.     In 2014 and 2015, Health Net experienced dramatic increases in claims for

substance abuse-related treatments on EPO and PPO (“exclusive provider organization” and

“preferred provider organization”) individual health insurance policies that Health Net offered in

California (the “California Substance Abuse Policies”). The California Substance Abuse Policies

included individual insurance policies sold on and off the ACA exchanges. In 2014, Health Net

earned $232 million in premiums on the California Substance Abuse Policies, but incurred

approximately $352 million in claims on those policies – a loss of $120 million. In 2015, Health




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Net’s losses on the policies became more extreme, as Health Net earned only $189 million in

premiums while incurring over $475 million in claims – a loss of $286 million.

       22.     These large shortfalls were due to the fact that the California Substance Abuse

Policies allowed high amounts of claims. For instance, they had generous provisions allowing

expensive claims by out-of-network providers. Defendant Neidorff later explained that the PPO

was “the most liberal PPO out there” as “[t]here were some design flaws that were just so obvious

to those of us who have been doing it for a long time” and “[w]e knew that when we bought the

company.”

       23.     Health Net also explained that in relation to out-of-network “spending for drug

testing and substance abuse facilities, [Health Net] PPO plans saw a 6,359 percent increase year-

over-year from 2013 to 2014 (with 2014 reflecting the first year of full ACA market reform

implementation), and a 2,674 percent increase in year-over-year spending from 2014 to 2015.”

       24.     During 2015, the increase in claims was gradual, with extremely elevated claim

levels already in the first quarter of 2015 and continuing through the calendar year. For instance,

by February 2015, Health Net was recording a 1,089% trend increase in paid substance abuse

claims, and by April 2015 that figure had risen to 1,500% – which was close to the overall annual

increase of 1,577.4% for 2015. As shown below, Health Net’s recorded costs on its poorly

designed California policies were consistently high throughout 2015:




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Over this same time period, Health Net also incurred dramatically increasing substance abuse-

related claims on its health insurance policies sold in Arizona.

       B.      Centene’s Due Diligence Began By June 2015

       25.     During this period of increasing claims on Health Net’s policies in California and

Arizona, Health Net and Centene negotiated and worked to complete a merger of the two

companies. Assisted by numerous financial analysts, and with Health Net’s approval, Centene

conducted extensive due diligence of Health Net’s business. Health Net and Centene began

discussing a potential business combination in November 2014. Following several telephone

conversations and in-person meetings between the companies’ top executives, on June 16, 2015,

Centene and Health Net commenced weeks of formal due diligence regarding a business

combination.

       26.     Centene engaged McKinsey & Company, Evercore, and Allen & Company as

advisors regarding financial and business considerations.          Centene’s management and


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representatives from these firms participated in the extensive due diligence. During the merger

negotiations, Evercore and Allen & Company provided to Defendants a business and financial

analysis of Health Net and an analysis of the potential pro forma financial impact of the proposed

transaction on Centene. Centene’s accounting firm, KPMG, LLP, reviewed Health Net’s audit

work papers from Deloitte & Touche. The Centene Board of Directors, which included Defendant

Neidorff, discussed the due diligence on June 23, 2015 and June 30, 2015. On June 30, 2015,

members of Centene’s Board reviewed the status of Centene’s due diligence review. On July 1,

2015, Evercore presented a financial analysis of Health Net to Centene’s Board.

       C.      The Merger Announcement

       27.     On July 2, 2015, Centene announced its intention to acquire Health Net for an

estimated total transaction value of approximately $6.8 billion. Under the terms of the agreement,

Health Net shareholders would receive 0.622 shares of Centene common stock and $28.25 in cash

for each share of Health Net common stock. Upon completion of the transaction, Centene

shareholders would own approximately 71% of the combined entity, with Health Net shareholders

owning approximately 29%. Centene published a press release on July 2, 2015 announcing the

merger. In the press release, Defendant Neidorff specifically highlighted “Health Net’s presence

in California” as motivation for entering into the transaction. Similarly, a Morgan Stanley report

dated July 6, 2015 stated that “[t]he addition of HNT will bolster CNC’s commercial platform and

increase its footprint in California, which we suspect were part of the key strategic rationale for

the deal.”

       28.     Also on July 2, 2015, Defendant Neidorff and Jay Gellert, the president and CEO

of Health Net, hosted a conference call to discuss the planned merger. During the call, Defendant

Neidorff stressed that “Centene maintains a disciplined approach to M&A” and that “first and

foremost” the merger had to “meet [Centene’s] financial criteria.” He stated that “this transaction

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is especially compelling because of the attractive shareholder returns” and the Company expected

the transaction to increase “adjusted earnings per share by more than 20% in the first full year

following closing.” Gellert highlighted “the opportunities presented by the ACA,” stating that

“2014 was a banner year for Health Net” amid increased numbers of customers of Health Net’s

policies on “the individual exchanges.” In response to a question from securities analyst Matthew

Borsch from Goldman Sachs regarding whether there was “a reason to anticipate that we might

have some special issues to resolve with respect to California approval” of the merger, Gellert

identified no such issues, stating that “this is an approval process that can move expeditiously.”

       29.     Defendants repeatedly emphasized that Centene intended to merge with Health Net

due in part to Health Net’s business in California. On July 14, 2015, for instance, Defendants

posted on Centene’s corporate website and filed with the SEC a PowerPoint presentation that listed

Health Net’s “deeper penetration in California” as the first “growth driver[]” of the merger. The

presentation further stated that the merger was expected to be “greater than 20% accretive to

adjusted EPS in the first full year.” Defendants repeated these statements on July 15, 2015,

September 9, 2015, and November 10, 2015.

       30.     On August 19, 2015, Centene filed a Form S-4 registration statement that included

a joint proxy statement/prospectus regarding the proposed merger. The Form S-4 listed the

“Centene Board of Directors’ Recommendations and Its Reasons for the Transaction.” Centene’s

stated reasons for the merger included “[t]he review of Centene’s and Health Net’s business,

strategy, current and projected financial condition, current earnings and earnings prospects, and

the current and prospective regulatory environment,” as well as the assertion that “[t]he

combination of Health Net and Centene would maintain and enhance Health Net’s strong

commercial business in California, which could also serve as a model for other states in which



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similar opportunities can be identified.” The Form S-4 cited the Centene Board’s “consult[ation]

with Centene’s management and legal and financial advisors” as a basis for the merger.


       D.      Centene’s Integration With Health Net Continued While
               Health Net Responded To Rising Claims In California And Arizona

               1.      Health Net Systematically Restricted
                       Payments For Substance Abuse-Related Claims

       31.     After the merger was announced, Health Net reacted to its increasing liabilities for

claims related to substance abuse treatment. See ¶¶20-24. In the second half of 2015, Health Net

began systematic efforts to reduce its payments for submitted substance abuse-related claims in

California and Arizona. In approximately November 2015, Health Net’s payments to substance

abuse treatment centers became sporadic. By January 2016, Health Net had instituted a special

investigation unit (“SIU”) “audit” that involved all or substantially all drug and alcohol treatment

centers in California that submitted claims to Health Net. As part of the SIU “audit,” Health Net

ceased reimbursing most, if not all, of these drug and alcohol treatment centers for treatments

rendered after January 15, 2016. Leading up to the March 24, 2016 merger date, Defendants were

well aware of the “audit,” which was reported in industry press at the time and is currently the

subject of litigation in courts in California and Arizona. Third-party payers whom Health Net

refused to pay during the “audit” have sued Centene to recover for the unpaid claims.

       32.     In conjunction with Health Net’s cessation of payments, Health Net sent the drug

and alcohol treatment facilities form letters from the Health Net Director of SIU, Matthew

Ciganek. The form letters imposed onerous burdens on the drug and alcohol treatment centers

while suspending payments. Among other things, the form letters (i) failed to identify any specific

misconduct by treatment centers, yet mentioned Health Net’s “right to institute legal proceedings”

and “seek appropriate sanctions from the court”; (ii) requested extensive and unusual amounts of


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documentation in a short time frame, including “all documents” related to various categories of

documents within fifteen days of the facility receiving the letter; (iii) were followed by numerous

duplicate letters requesting copies of the treatment centers’ licenses and other information, at times

even after such information had already been provided to Health Net; and (iv) imposed substantial

costs of compliance in terms of administrative burden and delivery costs, as, among other things,

Defendants failed to provide street addresses for delivery and initially refused to receive any of the

requested records electronically.

       33.     The SIU “audit” and Health Net’s delayed payments for substance abuse-related

claims extended for months in late 2015 and early 2016. During and after this time, the treatment

centers refused to accept Health Net patients, driving down Health Net’s incurred claims. Health

Net also unilaterally changed treatment codes billed by medical professionals in order to lower

costs, even though Health Net policies did not permit such unilateral changes. In or about May

2016, Health Net began to remit payment on overdue reimbursements. The payments, however,

were frequently incorrect and insufficient.

       34.     On May 31, 2016, the California Department of Insurance announced that it had

begun an inquiry into whether Health Net had failed to properly submit payment for insurance

claims to over 118 addiction treatment centers in California and Arizona. The treatment centers

had reported to the California Department of Insurance that they would be unable to accept future

Health Net policyholders unless Health Net reimbursed them for claims. Similarly, treatment

centers in Arizona reported to the Arizona Department of Insurance that Health Net had failed to

reimburse the treatment centers.

       35.     In sum, the SIU “audit” provided Health Net a means to artificially and temporarily

drive down the actual costs of its poorly designed California Substance Abuse Policies.



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               2.       Centene’s Integration With Health Net
                        Proceeded In Late 2015 And Early 2016

       36.     Following the merger announcement, and at the same time that Health Net

systematically restricted its payments to substance abuse facilities, Centene stated that it was

making progress on its integration of the Health Net and Centene businesses. On September 9,

2015, Defendants presented at the Wells Fargo Healthcare Conference in Boston, Massachusetts.

During the presentation, Defendant Neidorff stated that Centene was “look[ing] at some of the

upside” of the merger “as we go through the integration, and that’s going incredibly well – working

very well.” Neidorff stated that “Health Net will give us great penetration to California,” that

Health Net would contribute to Centene’s growth in the short term, and that “I said at the time we

did this deal, we have good visibility into 2016, we have pretty good visibility into 2017.” Neidorff

repeated that, regarding Health Net’s financials, “we have good visibility on 2016.”

       37.     On September 21, 2015, Centene filed its definitive proxy statement for the special

meeting of shareholders to vote on the Health Net merger. On October 23, 2015, Centene’s

shareholders voted to approve the merger.

       38.     On October 27, 2015, during a quarterly investor conference call, Defendant

Neidorff reassured Centene investors regarding the integration with Health Net. Responding to a

question from analyst Michael Baker of Raymond James & Associates, Inc. regarding “who’s

heading up the integration effort,” Neidorff responded that “Cindy Brinkley is heading up the

integration,” “the Health Net people are fully engaged in participating,” and “speaking on behalf

of the whole management team, the Board, we are very pleased with the progress at how it’s

going.” Cindy Brinkley was Centene’s Executive Vice President of International Operations and

Business Integration.




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        39.     On December 9, 2015, Centene presented at the Oppenheimer Healthcare

Conference in New York, New York. During the presentation, Defendant Neidorff stated that

“[t]here’s probably no time in [Centene’s] history or in its future that will be more transitional than

what we’ve just done with Health Net. It has taken us from an also-ran to one of the big four. It

has given us a critical mass and a capability and size that builds a lot of stability into what we’re

doing.” Neidorff stated regarding the Health Net merger that “[w]e have good growth and have

good visibility into 2016, 2017, a little bit of 2018.” Neidorff stated that “Health Net had some

. . . 14 [or] 15 payables or receivables we’ll write off . . . at the time we close.”

        40.     On December 18, 2015, Defendants held an investor conference call regarding the

Company’s financial guidance for 2016.           During the call, Cindy Brinkley stated that, in

anticipation of the merger closing in February 2016, the Company “embarked upon a very, very

robust planning process.” She stated that Centene hired McKinsey & Company for the integration,

and that as part of the “joint process,” Centene formed a ten-person (five from each company)

integration management office that, among other things, worked to “capture the value and . . .

synergies.” Brinkley stated that “we are making significant progress on our integration plans and

where we are with the entire transaction.”

        41.     During the December 18, 2015 conference call, Brinkley further noted that Centene

was at the time working with the California regulators regarding the merger and that Centene

would have a hearing with the California regulators on January 22, 2016. Brinkley stated that

Centene was in the process of “realizing the growth opportunities and putting the company

together.”




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                 3.     Defendants Were Particularly Focused
                        On Health Net’s California Business

        42.      In the months leading up to the closing of the merger on March 24, 2016,

Defendants were particularly focused on Health Net’s California policies as part of Centene’s

efforts to obtain approval from California’s insurance regulators. Centene originally planned to

complete the merger in February 2016, but the transaction was delayed because California

regulators had not yet approved the merger. In a press release and Form 8-K published on

February 9, 2016, Centene stated that “[t]he Health Net transaction remains subject to California

regulatory approval.”

        43.      In numerous SEC filings and other public statements in late 2015 and early 2016,

Defendants repeatedly stressed the need for regulatory approval as a precondition to the merger’s

closing.      For instance, Defendants stated in Centene’s Forms S-4 and S-4/A Registration

Statements filed on August 19, 2015 and September 17, 2015 that “[p]ursuant to the insurance

laws and, in some instances, the health care laws of Arizona [and] California[,] . . . applicable

regulatory authorities must approve of . . . Centene’s acquisition of control of Health Net’s health

maintenance organization and insurance companies.” Defendants stated that “[t]he parties expect

to complete the merger after all of the conditions to the merger in the merger agreement are

satisfied . . . including . . . all required regulatory approvals.”

        44.      Until regulatory approval was obtained and the merger closed, Defendants refused

to provide certain financial information regarding the Health Net acquisition. On December 18,

2015, during a Company Investor Day, Schwaneke stated that “[w]ith regulatory approvals

pending, we will not be able to provide additional details associated with the 2016 guidance other

than what is presented here today. Once all regulatory approvals have been received and the

transaction has closed, we will provide full details of our 2016 guidance.” On January 11, 2016,


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Neidorff told investors during a JPMorgan Healthcare Conference that “the closing is subject to

regulatory approval. And until we receive the final approval, we’re going to limit what information

we provide to what we did at our Investor Day in terms of revenue and earnings.”

       45.     The ongoing approval requirements from regulators in California allowed Centene

to avoid reporting revenue as a consolidated company with Health Net. During a Company

conference call with investors on February 9, 2016, Defendant Schwaneke stated that “one month

of Health Net revenue is approximately $1.3 billion” and as “the transaction remains subject to

regulatory approval in California,” the “actual closing date of the Health Net transaction will

determine the number of months and days of Health Net results that will be included in our

consolidated financial statements for 2016.” As analysts at UBS noted, “[a] one-month delay [in

the merger] would impact 2016 revenue outlook by roughly $1.3 [billion].”

       46.     In March 2016, Centene obtained regulatory approval to consummate the

transaction from the California Department of Managed Health Care (DMHC) and the California

Department of Insurance (CDI). Morgan Stanley issued a report dated March 22, 2016 discussing

the scrutiny that regulators were applying to the proposed merger:

       Both of California’s insurance regulators held hearings in December and January
       about the proposed CNC/HNT deal. However, Commissioner Dave Jones from
       CDI appeared to be more critical of the merger. According to California Healthline,
       Jones spent six hours in a hearing Jan. 22 grilling executives and industry experts
       on the proposed Centene-Health Net merger.

       47.     Defendants were further focused on Health Net’s California insurance policies in

the months leading up to the merger because the CDI subjected its merger approval to a number

of conditions regarding those policies. In a report dated March 22, 2016, Morgan Stanley

described ten conditions on CDI’s approval of the merger, including a “commitment to growing

[Health Net’s] commercial business in the state [of California] including participation on the



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exchange.” In a report dated March 22, 2016, Sterne Agee noted additional CDI requirements,

including that Centene was required to “maintain and grow [Health Net’s] commercial business in

the state,” “provide sufficient provider networks,” “continue to offer products on the California

exchange,” “improve the quality of care to consumers,” and “certify that no costs of the merger

will be passed along to consumers.”

       48.     On March 24, 2016, Centene announced that it had completed its acquisition of

Health Net.

       E.      During The Class Period, Defendants
               Represented Health Net’s Liabilities

               1.     Centene’s Form 10-Q Reported The
                      Purported “Fair Value” Of Health Net’s Liabilities

       49.     On April 26, 2016, Defendants filed a Form 10-Q with the SEC that reported the

purported value of the Health Net assets that Centene had acquired, and the Health Net liabilities

that Centene had assumed, in the merger (in millions of dollars):




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        50.     Centene represented that these figures showed the “fair value” of Health Net’s

assets and liabilities as of the March 24, 2016 merger date. See April 26, 2016 Form 10-Q (“The

acquisition of Health Net has been accounted for as a business combination using the acquisition

method of accounting which requires assets acquired and liabilities assumed to be recognized at

fair value as of the acquisition date.”).

        51.     Defendants’ assurances regarding the valuation of Health Net in the April 26, 2016

Form 10-Q gave the impression that the valuations were predicated on “full access” to information

about Health Net’s assets. In Centene’s prior SEC filings on September 17, 2015, September 21,




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2015 and January 26, 2016, before the merger closed, Defendants accompanied the Company’s

valuation of Health Net with the following language:

       At this time, Centene does not have sufficient information as to the amount,
       timing and risk of cash flows of all of Health Net’s identifiable intangible assets
       to determine their fair value. Some of the more significant assumptions inherent
       in the development of intangible asset values, from the perspective of a market
       participant, include: the amount and timing of projected future cash flows
       (including revenue and profitability); the discount rate selected to measure the risks
       inherent in the future cash flows; and the assessment of the asset’s life cycle and
       the competitive trends impacting the asset. However, for purposes of these
       unaudited pro forma condensed combined financial statements and using publicly
       available information, such as historical revenues, Health Net’s cost structure,
       industry information for comparable intangible assets and certain other high-level
       assumptions, the fair value of Health Net’s identifiable intangible assets and their
       weighted-average useful lives have been estimated . . . .
       ....
       Once Centene has full access to information about Health Net’s intangible assets,
       additional insight will be gained . . . .

These statements, however, were omitted from Centene’s Form 10-Q dated April 26, 2016,

because, having merged in March 2016, Centene now had “sufficient information” and “full access

to information” regarding the value of Health Net’s liabilities. In fact, Centene had full access to

all of Health Net’s financial information by no later than March 24, 2016, when Health Net became

wholly owned by Centene, if not sooner during pre-merger diligence and the integration process.

               2.      Centene Assured Investors That
                       Health Net’s Reserves Were Adequate

       52.     On April 26, 2016, the same day that Centene reported the value of Health Net (see

¶49), Centene held a quarterly investor conference call. During the call, Defendant Neidorff

discussed the merger and stated that there were “no surprises” during “the regulatory process in

California.” Analyst Matthew Borsch from Goldman Sachs asked whether the “large book at

Health Net [of] ACA exchange members[] – is it profitable now? . . . And what level of

profitability is that?” Centene’s EVP of Markets, Rone Baldwin, responded that “the exchange

business at . . . Health Net has been profitable. The one area of challenge with respect to the

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exchange business at Health Net has been Arizona.” By contrast, Baldwin stated, for Health Net’s

policies in “California, [Health Net] pursue[s] a strategy . . . [t]hat has worked well for them.”

        53.     On May 10, 2016, Ed Kroll, SVP of Finance and Investor Relations, presented at

the Bank of America Merrill Lynch Health Care Conference. In response to a question by Kevin

Fischbeck, an analyst at Bank of America Merrill Lynch, regarding the finances associated with

the merger, Kroll stated that “I think you have a very attractive financial transaction that also

lengthens out the sustainability of our superior growth, and it enhances all those diversification

imperatives . . . So I think it all adds up to a really, really good transaction for our shareholders.”

        54.     On May 24, 2016, Defendants gave a presentation at the UBS Global Healthcare

Conference. In response to an analyst’s question regarding whether there had been any surprises

or challenges associated with the merger, Neidorff responded that “I think it’s all been where we

expected, and it’s probably a little bit – it’s been fine. We officially closed on the 24th, but we had

nine months ahead of that, in round numbers, working on the integration as anyone would do. So

the day that we closed, we were just implementing things we’ve been planning for nine months.”

Neidorff stated that “our mentality is you really start your integration when you’re doing diligence

even before you sign the contract. That’s when you’re learning things about the Company. You

should be thinking at that point what are we going to do if we consummate this deal? And so that’s

been going on for a year, and it’s come – if anything, I think we’re ahead of schedule.”

        55.     During the May 24, 2016 presentation, analyst A.J. Rice from UBS asked whether

there were “any other things” that Centene had done “to bring [Health Net] . . . up to snuff in

[Defendants’] accounting and balance sheet?” Defendant Neidorff responded “No, and we’ll talk

more about this . . . at our Investor Day coming up” on June 17, 2016, but assured investors that




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“in reality, after about 60 days you have a significant development of reserves, in the 90s. So

everything we’re seeing says it’s fine.”1

       56.     On June 17, 2016, Centene held an Investor Day attended by seven of Centene’s

executives, including Defendants Neidorff and Schwaneke. During the presentation, Defendant

Neidorff stated that “Health Net is Centene’s California health plan” and presented a slide stating

that Centene had applied its “reserving methodologies to Health Net’s book of business”:




1
  Insurance claims “reserves” are monies that insurance companies earmark for payment of
insurance policy claims. Reserves are generally established by simultaneously recording an
income statement expense (which reduces earnings) and a balance sheet liability (which represents
a future payment, i.e., negative cash flow).

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       57.      Neidorff stated that during the Investor Day, Defendant Schwaneke would provide

investors “with details on [Centene’s] reserving methodologies and how they differ from Health

Net’s previous practice” and “will help mitigate any concerns [investors] have regarding Health

Net’s reserves prior to the March 24[, 2016] closing date.” During his subsequent presentation,

Defendant Schwaneke stated that “[w]e ensure the adequacy of medical claims reserves by

utilizing detailed reserve calculations by market and product that are reviewed by multiple levels

within the finance department.” Schwaneke explained that the “key” was that Defendants “apply[]

a consistent reserving methodology” and “get two independent actuarial reviews each quarter and

monitor prior-period development.” Schwaneke further emphasized the Company’s specific

reserve levels, stating that they “have developed favorably” and that “[s]o far this year we have

seen positive development of $226 million from our 2015 reserves.”

       58.     In providing an “update on the Health Net finance transaction,” Defendant

Schwaneke further stated that “[s]ince the acquisition we have faster visibility into financial

information” and that “[o]n a monthly basis[,] Centene’s finance team has been reviewing and

monitoring the medical claims reserves and development.” In discussing the “Health Net finance

transition,” Schwaneke also presented the following slide, highlighting the “adequacy of medical

claims reserves”:




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       59.     Schwaneke further highlighted Centene’s visibility into Health Net’s financial

information, including reserves, using the following slide:




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       60.    Schwaneke stated that “[a]s of May 31, 2016, there has been no unfavorable

development on the acquired Health Net medical reserves,” and presented the following slide:




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       61.     Rone Baldwin, Centene’s EVP of Markets, highlighted the Health Net policies in

California that the Company had acquired. Baldwin stated that there was “clearly a major increase

in the membership in California.” Baldwin further stated that “we have a big focus in California

in margins on both the individual and group commercial business as part of the 2016 plan,” that

“we’re implementing some best practices of Centene in terms of claims and medical management

with a particular focus on California,” and that “we’re investing to revitalize our products in the

individual space including in the individual PPO product in California.”

       62.     During the Q&A portion of the Investor Day, Defendant Schwaneke was asked

about the Company’s visibility into claims on Health Net policies. Schwaneke stated that roughly

two months after a merger, an acquiring company has “paid 85% of the claims that you ultimately



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think you’re going to pay,” so “two months out you have 85% of the claims already paid and out

the door. . . . In three months, it’s over 90%” so that “give[s] you a flavor for how much

information we had” regarding Health Net’s claims.

       63.     Analyst Dave Windley from Jefferies asked about Schwaneke’s statement that there

had been “no unfavorable development on the acquired Health Net medical reserves.” In response,

Schwaneke reassured investors that there was merely a “potential for adjustment,” but that “we

haven’t seen any unfavorable development” since the Company’s accounting for Health Net

provided on April 26, 2016. See ¶49. Analyst Christine Arnold from Cowen and Company again

asked about the Health Net insurance reserves, stating “I’m sorry to beat up on it, but it’s something

that’s really on people’s minds. You said that the reserves, there was no negative development,

and is that related to both the first quarter and 2015? Or how did 2015 develop?” Mark Brooks,

Centene’s SVP and Chief Information Officer, responded that “That’s really just the opening

balance sheet so that’s as of the time of the transaction. . . . [T]he March 24 reserve balance

includes all prior activity.” Brooks reassured investors again that “in total we haven’t seen any

development on anything prior to [March] 24[, 2016].” Adding to this point, Defendant Neidorff

stated “That’s an important point that . . . the Health Net reserve issue stops at March 24 . . . .”

       64.     Analyst Brian Wright from CRT Capital Group followed up on Defendants’

statements, asking “what Health Net’s reserve development was into 2015.”                   Defendant

Schwaneke responded that “I don’t have that level of detail with me here today . . . . We were

obviously focused on [the] opening balance sheet and what we acquired.” Wright followed up

again, asking about Centene “having the auditors look at Health Net’s reserves.” Schwaneke stated

that “[t]hat’s the work we’re doing right now” and there were only “potential adjustments” to be

made, as there was “no unfavorable development.”



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         65.   Following a break in the Investor Day presentation, Defendant Neidorff introduced

a different segment of the Investor Day, referring to the Health Net reserves as “hav[ing] now

found a comfortable bed.” He stated, “I think it’s that kind of issue; it’s one that’s behind us at

this point.”

         F.    Centene Disclosed The Truth About Health Net’s
               Massive Liabilities And Unfavorable Reserves Developments

         66.   On July 26, 2016, Defendants disclosed that the “fair value” of Health Net’s

liabilities was far higher than Centene had reported on April 26, 2016. In a Form 10-Q that the

Company filed with the SEC on July 26, 2016, Defendants increased Health Net’s medical claims

liability reserves by approximately $90 million. The Company admitted during an investor

conference call on July 26, 2016 that this increase was “really . . . for prior issues” that were “as

of March 24,” 2016 and were “associated with disputed substance abuse treatment center claims.”

When analyst Chris Rigg from Susquehanna Financial Group asked whether “the $90 million is

basically for the 27-ish month of really 2014, 2015 and about three months of 2016,” Defendant

Schwaneke confirmed that the $90 million increase in reserves was for “everything prior to March

24[, 2016.]” Centene further disclosed on July 26, 2016, that all of the $90 million in increased

liabilities related to the substance abuse-related claims in California.

         67.   On July 26, 2016, the Company further disclosed that it had also recognized

additional liabilities in the Health Net business of “approximately $300 million . . . based on costs

trends existing prior to the acquisition date.” The Company filed a Form 8-K on July 26, 2016

further explaining the composition of the $300 million in recognized liabilities and admitting that

because Defendants had known of the issues underlying the $300 million adjustment for many

months, the Company had already been taking corrective action to remedy the known, increased

liabilities:


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      $125 million associated with the California commercial business, $50 million of
       which is associated with substance abuse treatment facilities. We have filed for a
       combination of price increases and benefit design changes including reductions in
       reimbursement for out of network services. We are in the final stages of approval
       with the California Department of Insurance, which will be concluded by the end
       of the third quarter of 2016.
      $70 million associated with the Arizona individual commercial business. We will
       exit the entire individual PPO business, effective January 1, 2017. We are reducing
       our participation in the health insurance marketplace business to one county for
       2017 and have taken significant rate actions.
      $70 million associated with the Medicare business. The 2017 bids have been
       submitted and should return the business to profitability in 2017.
      $15 million associated with the Arizona Medicaid business. We have fully
       transitioned this business to Centene’s operating platform as of July 1, 2016, and
       we have taken appropriate actions to improve performance.
      $20 million of other smaller items including the Arizona small group and Oregon
       individual business. We have filed for rate increases and taken other appropriate
       actions to address these for 2017.

       68.     Centene’s massive July 26, 2016 accounting changes significantly impacted

Centene’s accounting for the Health Net assets acquired and liabilities assumed in the merger.

Centene reported that Health Net’s medical claims liabilities were $92 million higher, its accounts

payable and accrued expenses were $102 million higher, its total liabilities were $211 million

higher, and its net assets $245 million lower than Centene had reported on April 26, 2016. In

particular, and in contrast to the figures presented in ¶49 above, Centene accounted for Health Net

as follows:




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       69.     The $390 million in increased liabilities were massive in context, greatly eclipsing

the pre-tax earnings of the entire Health Net company in recent years. In 2013 and 2014, Health

Net averaged only $235 million annually in pre-tax earnings.2 The over $300 million in increased

liabilities for 2016 greatly outstripped those annual earnings figures.

       70.     Centene accounted for the approximately $300 million in increased liabilities for

the period March 25, 2016 through December 31, 2016 using a “premium deficiency reserve,” or



2
  These years are appropriate for comparative purposes, as some undisclosed portion of the
reserves effectively reduced Health Net’s reported 2015 pre-tax earnings.

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“PDR.” PDRs are required when there is a probable loss on unearned insurance premiums. As

explained further below, Centene’s use of purchase accounting rules to record the PDR violated

GAAP. See ¶¶95-110.

       71.      Before the market closed on July 26, 2016, Centene executives made further

admissions that they knew of the Health Net reserve issues before the March 24, 2016 merger, and

thus before filing the April 26, 2016 Form 10-Q. In response to analyst questions regarding the

extent to which the PDR was related to substance abuse issues and “how much of the PDR is

actually really resolved,” Defendant Neidorff stated that “we knew some of this was there” and

that “[t]his is something we inherited. And it was prior to the 24th [of March] when those things

were set.” Defendant Schwaneke stated that the $300 million PDR “was based on information as

of March 24.”

       72.      Defendants further explained that the substance abuse issue with Health Net’s

California individual business was due to known policy “plan design.” Neidorff stated that he had

“personally been involved in and pushing and discussing” changes to the policy plan design, as

Centene had been “working with the states at the highest levels to redesign the PPO product”

and “[t]here were major flaws in it.” Neidorff stated that Centene had been working on the plan

design “for the past several months” and that the increased liabilities recognized on July 26, 2016

regarded “a whole list of issues that have been dealt with very aggressively.” Neidorff stated “I’ve

had several meetings personally with Commissioner Jones,” the Commissioner of the California

Department of Insurance. Neidorff continued, “We’ve talked about it . . . We’ve talked about the

actions we are taking” and “we are being very aggressive in fixing it.” Defendants stated that “the

issue we had in the PPO is isolated to the PPO products in California” and “[w]e have taken steps




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to mitigate the substance abuse treatment center costs in the individual commercial business in

California, including modifications to plan design.”

       73.     Analysts reacted to the news. Analysts at Cowen and Company reported on July 26,

2016 that it was “troubling” that at Centene’s “[I]nvestor [D]ay on June 17, there was no mention

of the challenges or pricing steps taken to rectify the issues” that caused the increased liabilities,

particularly because Centene’s actions to mitigate the issues “would have had to been filed in early

June.” In a report dated July 26, 2016, analysts at Jefferies stated that Centene management’s

“credibility took a step back today as the $390 [million] of reserves were significantly higher than

[Centene] suggested in June at our health care conference” as there was “scant mention at the June

Investor Day.” “Why didn’t the Company disclose the issues then?” the Jefferies analysts asked.

In a report also dated July 26, 2016, analysts at Credit Suisse stated that the Company’s

“disclosures . . . reveal that [Health Net] was likely descending towards a much tougher earnings

situation on a standalone basis than previously suggested by [management].” Credit Suisse

noted that the balance sheet changes were “material.” Analysts at Susquehanna Financial Group

published a report on July 26, 2016 noting that “we understand investor frustration” regarding the

disclosures of Health Net’s “core performance.”

       74.     Because Centene accounted for $300 million of the $390 million in increased

liabilities on July 26, 2016 using purchase accounting rules (albeit, in violation of the rules, as

described in ¶¶95-110), there was no impact on Centene’s income statement. See ¶¶99-100 & page

22 footnote 1. However, Centene executives admitted that without the Company’s use of purchase

accounting regarding the material PDR changes, Centene’s quarterly pre-tax earnings would have

been reduced by $300 million (84%), severely impacting the “earnings per share” metric that the

Company reported to analysts and investors. See id. Analyst Matthew Borsch from Goldman



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Sachs asked whether “if you hadn’t taken the PDR, does that mean that your earnings for that

period would be by your estimate $300 million lower than what your guidance states?” “Yes,”

Schwaneke replied. Moreover, and regardless of Defendants’ accounting, the July 26, 2016

disclosures meant that Centene’s previously expected cash flows were overstated by

approximately $300 million.

       75.     In response to the disclosures on July 26, 2016, the price of Centene common stock

declined. On July 26, 2016, the stock price declined by $6.39 per share, or approximately 8.5%,

erasing over $1 billion of shareholder value on high trading volume. A Morgan Stanley report

dated July 27, 2016 stated that “[w]e understand the ~8% downward move in CNC given material

deterioration in 2016 legacy [Health Net] business.” The business publication Modern Healthcare

noted that “[i]nvestors sold off shares of Centene Tuesday because of the Health Net worries,

pushing the company’s stock price down as much as 15% during morning trading.”

       76.     Following the July 26, 2016 disclosures, Defendants reiterated that the $90 million

and $300 million increased liabilities were due to claims experience that had increased long before

the Class Period. On July 27, 2016, Defendant Neidorff was interviewed by securities analyst Jim

Cramer regarding the July 26, 2016 accounting changes. Cramer stated that it was a “red flag”

that Centene had “increased its substance abuse treatment cost reserves by $90 million as well as

recording a $300 million premium deficiency reserve for its business in Arizona, California, and

Oregon – that’s what upset people.” Cramer noted that Centene had disclosed the increased

liabilities just weeks after its June 17, 2016 Investor Day and cited Defendants’ statements in their

PowerPoint presentation during the Investor Day that there had been “no unfavorable development

on the acquired Health Net medical reserves” through May 2016. Cramer stated that during the

Investor Day, Centene had claimed it was “really unbelievable at figuring out reserves” and had



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“applied Centene’s reserving methodology to Health Net’s book of business.” Neidorff responded

that there had been “some issues in California with the individual plan, there were problems in

Arizona with non-profitable business,” and admitted that “[w]e knew this when we bought it.”

Neidorff admitted that “before [Defendants] closed” the merger, Defendants “knew” that the

California policies “had a bad product design” and Defendants were “working very closely with

the Department of Insurance” regarding it.

       77.     During Cramer’s interview of Neidorff, Cramer further highlighted the Jefferies

analyst report noted above in ¶73, above, stating that “credibility took a step back today as the

$390 [million] of reserves were significantly higher than [Centene] suggested in June at our health

care conference.” Cramer asked incredulously, “Jefferies didn’t catch it and it was their health

care conference?!” Neidorff responded that Centene was “dealing with losses” and also claimed

during the interview that the increased liabilities from the Health Net acquisition were

“misunderstood.”

       78.     On September 7, 2016, Centene gave a presentation at the Wells Fargo Securities

Healthcare Conference in Boston, Massachusetts, in which Ed Kroll, Centene’s Senior Vice

President, Finance & IR, participated. During the presentation, Kroll stated that the increased

liabilities reported on July 26, 2016 derived from Health Net’s “den[ial of] a lot of claims that

[Centene] . . . determined should be on the books [because] . . . they were owed.” Kroll also

explained that the non-substance-abuse-related policies “were actually producing losses in 2015

for Health Net, already, so I think those were really not surprises for us.” Analyst Peter Costa

from Wells Fargo Securities pointed out that “the simple math” was that “Health Net’s earnings

really were overstated . . . when [Centene] bought it,” and asked whether Centene had “regrets

about buying Health Net.”      In response, Kroll stated that Centene had “no regrets” about



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purchasing Health Net, but confirmed that “all of th[e] products” that related to the PDR, including

the California PPO, “were all losing money in 2015.”

       79.     On September 13, 2016, Kroll and Defendant Neidorff presented at the Morgan

Stanley Global Healthcare Conference in New York, New York. The first question during the

presentation was from analyst Cornelia Miller from Morgan Stanley, who asked regarding the $300

million PDR whether Defendant Neidorff could “give us a little bit of insight into how much

insight you had into the underperforming businesses when you announced the acquisition of Health

Net in 2015.” Neidorff responded that “We had spent . . . a lot of time confirming the medical

costs, the prior-year period expenses on it.” He confirmed that “[w]e knew that we had the Arizona

PPO and some other costs there.” During the presentation, Neidorff also discussed the obviousness

of the Health Net California PPO’s design flaws, stating “[t]here were some design flaws that were

just so obvious to those of us who have been doing it for a long time.” Neidorff continued to

discuss the role of the Health Net California PPO liabilities in the July 26, 2016 accounting

adjustments, stating that:

       A PPO is designed to give people an option to go out of network, but really it should
       be designed to encourage people to stay in network. [Health Net’s California PPO
       policies] had none of that. There were no caps on maximum allowances. We had
       the most liberal – or Health Net had the most liberal PPO out there, which
       encouraged adverse selection. We knew that when we bought the company. We
       had done our homework.

Neidorff further stated regarding the increased liabilities that “the things that were the issue have

been dealt with, and had been planned to be dealt with when we announced it. We are well

underway. These were not things that came up, and we just all of a sudden decided to do. We had

been working on it and fixed it, taking those steps beforehand.” Neidorff further explained,

regarding the issues with Health Net’s Arizona policies captured in the PDR, that Centene had

“exited Arizona.”


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       80.     On December 16, 2016, Centene held an “Investor Day” during which Defendant

Schwaneke summed up the actions Centene had taken to remedy the Health Net book of business

that Centene had acquired, stating that “[s]pecifically we redesigned the individual PPO product

in California, we will exit underperforming businesses in 2017 and have filed for rate increases in

the individual, commercial and Medicare businesses commensurate with expected profitability.”

He continued, “there’s still work to be done.”

V.     DEFENDANTS’ FALSE AND
       MISLEADING STATEMENTS AND OMISSIONS

       A.      False And Misleading Statements
               In Investor Conferences And Presentations

       81.     On April 26, 2016, Centene held an investor conference call in which Defendants

Neidorff and Schwaneke; Ed Kroll, Centene’s SVP of Finance and Investor Relations; Rone

Baldwin, Centene’s EVP of Markets; Jesse Hunter, Centene’s EVP of Products; and Ken

Yamaguchi, Centene’s Chief Medical Officer, participated. During the call, Defendant Neidorff

stated regarding the merger with Health Net that there were “no surprises” during “the regulatory

process in California.” Analyst Matthew Borsch from Goldman Sachs asked whether the “large

book at Health Net [of] ACA exchange members[] – is it profitable now? . . . And what level of

profitability is that?” Centene’s EVP of Markets, Rone Baldwin, responded that “the exchange

business at . . . Health Net has been profitable. The one area of challenge with respect to the

exchange business at Health Net has been Arizona.” Baldwin stated Health Net “pursue[s] a

strategy. . . [t]hat has worked well for them” regarding Health Net’s policies in California.

       82.     Defendants’ statements identified above in ¶81 were false and misleading.

Defendants’ statements that the “one area of challenge with respect to the exchange business at

Health Net” was in Arizona, that Health Net’s strategy in California was “work[ing] well,” and

that there were “no surprises” during the “regulatory process in California” omitted Health Net’s

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material increased liabilities on its California Substance Abuse Policies as well as the remedial

measures that Health Net took to avoid payments to substance abuse treatment facilities and the

efforts to re-design the flawed PPO product that was losing money. See ¶¶19-24, 31-35, 72; see

also ¶¶76, 78-79. Defendants also omitted that Centene’s valuation of Health Net’s business

materially understated Health Net’s liabilities, and that Defendants had known of such issues since

before the merger closed on March 24, 2016. See ¶¶25-26, 66-72; see also ¶¶76-79.

        83.    On May 24, 2016, Defendant Neidorff gave a presentation at the UBS Global

Healthcare Conference in New York. In response to a question from analyst A.J. Rice at UBS

regarding whether there had been any surprises or challenges associated with the merger, Neidorff

responded that “I think it’s all been where we expected” and that “[w]e officially closed on the

24th, but we had nine months ahead of that, in round numbers, working on the integration as anyone

would do. So the day that we closed, we were just implementing things we’ve been planning for

nine months.” Neidorff stated that “our mentality is you really start your integration when you’re

doing diligence even before you sign the contract. That’s when you’re learning things about the

company. You should be thinking at that point what are we going to do if we consummate this

deal? And so that’s been going on for a year, and it’s come – if anything, I think we’re ahead of

schedule.” Analyst A.J. Rice from UBS also asked whether there were “any other things” that

Centene had done “to bring [Health Net] . . . up to snuff in [Defendants’] accounting and balance

sheet?” Defendant Neidorff responded “No” and assured investors that “in reality, after about 60

days you have a significant development of reserves, in the 90s. So everything we’re seeing says

it’s fine.”

        84.    Defendants’ statements identified above in ¶83 were false and misleading.

Neidorff’s statements about Centene’s “diligence even before” the merger contract was signed and



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“nine months” of due diligence thereafter, as well as his assertion that “everything . . . [was] fine”

regarding the balance sheet, omitted that this same due diligence by Defendants had identified

numerous issues with Health Net’s policies that, as Defendants knew, required that Health Net

policies be redesigned in order to avoid losing money and that the Company make material changes

to the valuation of Health Net reported on April 26, 2016. See ¶¶19-26, 31-35, 66-72; see also

¶¶76, 78-79. Defendants omitted the remedial measures that Health Net took to avoid payments

to substance abuse treatment facilities and the efforts to re-design the flawed PPO product design

that was losing money, and that Centene’s valuation of Health Net’s business materially

understated Health Net’s liabilities. See ¶¶31-35, 72; see also ¶¶76, 78-79.

       85.     On June 17, 2016, Centene held an Investor Day attended by seven of Centene’s

executives, including Defendants Neidorff and Schwaneke. Defendant Neidorff presented the

following PowerPoint slide:




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Neidorff stated during the presentation that Defendant Schwaneke “will help mitigate any concerns

you have regarding Health Net’s reserves prior to the March 24[, 2016] closing date.” During his

presentation, Defendant Schwaneke stated that “[w]e ensure the adequacy of medical claims

reserves by utilizing detailed reserve calculations by market and product that are reviewed by

multiple levels within the finance department. We get two independent actuarial reviews each

quarter and monitor prior-period development. The key is applying a consistent reserving

methodology.” Schwaneke further emphasized the Company’s specific reserve levels, stating that

they “have developed favorably” and that “[s]o far this year we have seen positive development

of $226 million from our 2015 reserves.”

       86.    In providing an “update on the Health Net finance transaction,” Defendant

Schwaneke stated during the Investor Day that “[s]ince the acquisition we have faster visibility

into financial information” and that “[o]n a monthly basis, Centene’s finance team has been

reviewing and monitoring the medical claims reserves and development.” In discussing the

“Health Net finance transition,” Schwaneke also presented the following slide highlighting the

“adequacy of medical claims reserves”:




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       87.     Schwaneke further highlighted Centene’s visibility into Health Net’s financial

information, including reserves using the following slide:




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       88.     Schwaneke also stated that “[a]s of May 31, 2016, there has been no unfavorable

development on the acquired Health Net medical reserves,” and presented the following slide:




       89.     Rone Baldwin, Centene’s EVP of Markets, stated that “we have a big focus in

California in margins on both the individual and group commercial business as part of the 2016

plan.” Baldwin stated that “[w]e’re implementing some best practices of Centene in terms of

claims and medical management with a particular focus on California” and that “we’re investing

to revitalize our products in the individual space including in the individual PPO product in

California.”

       90.     During the Q&A portion of the Investor Day, Defendant Schwaneke was asked

about the Company’s visibility into claims on Health Net policies. Schwaneke stated that roughly

two months after a merger, an acquiring company has “paid 85% of the claims that you ultimately

think you’re going to pay,” so “two months out you have 85% of the claims already paid and out




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the door. . . . In three months, it’s over 90%” so that “give[s] you a flavor for how much

information we had” regarding Health Net’s claims.

        91.     Analyst Dave Windley from Jefferies asked about Schwaneke’s statement that there

had been “no unfavorable development on the acquired Health Net medical reserves.” In response,

Schwaneke reassured investors that there was merely a “potential for adjustment,” but that “we

haven’t seen any unfavorable development.” Analyst Christine Arnold from Cowen and Company

asked about the Health Net insurance reserves, stating “I’m sorry to beat up on it, but it’s something

that’s really on people’s minds. You said that the reserves, there was no negative development,

and is that related to both the first quarter and 2015? Or how did 2015 develop?” Mark Brooks,

Centene’s SVP and Chief Information Officer, responded that “That’s really just the opening

balance sheet so that’s as of the time of the transaction. . . . [T]he March 24 reserve balance

includes all prior activity.” Brooks stated that “in total we haven’t seen any development on

anything prior to [March] 24[, 2016].” Defendant Neidorff added, “That’s an important point that

. . . the Health Net reserve issue stops at March 24 . . . .”

        92.     Analyst Brian Wright from CRT Capital Group followed up on Defendants’

statements, asking “what Health Net’s reserve development was into 2015.”                  Defendant

Schwaneke did not answer the question, stating that “I don’t have that level of detail with me here

today . . . . We were obviously focused on [the] opening balance sheet and what we acquired.”

Wright followed up again, asking about Centene “having the auditors look at Health Net’s

reserves.” Schwaneke stated that “[t]hat’s the work we’re doing right now” and there were only

“potential adjustments” to be made, as there was “no unfavorable development.”

        93.     Defendants’ statements identified above in ¶¶85-92 were false and misleading.

Defendants’ statements highlighting Centene’s practices to ensure the “adequacy of medical



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claims reserves,” “how much information [Centene] had” at the time, and that (i) Centene had

“applied Centene’s reserving methodologies to Health Net’s book of business; (ii) “[o]n a monthly

basis, Centene’s finance team has been reviewing and monitoring the medical claims reserves and

development”; (iii) reserve levels “have developed favorably” in 2016; (iv) there had been “no

unfavorable development on the acquired Health Net medical reserves through May” 2016, the

Company had not seen “any development on anything” prior to March 24, 2016, and “the Health

Net reserve issue stops at March 24”; and (v) there was merely a “potential for adjustment” to an

unidentified aspect of Centene’s accounting – all of which were expressly made to “mitigate any

concerns regarding Health Net’s reserves” – misled investors regarding the business and liabilities

of Health Net. By the time of the merger on March 24, 2016, Defendants had identified numerous

issues with Health Net’s policies that, as Defendants knew, required both (i) material changes to

the valuation of Health Net reported on April 26, 2016, including to the Health Net reserves for

Health Net losses prior to March 24, 2016, as well as the PDR for the periods after March 24,

2016; and (ii) remedial actions to avoid continuing to lose money on policies at issue. See ¶¶19-

35, 66-72; see also ¶¶76, 78-79. Defendants omitted the remedial measures that Health Net took

to stall its payments to substance abuse treatment facilities and the efforts to re-design the flawed

PPO product design that was losing money, and that Centene’s valuation of Health Net’s business

materially understated Health Net’s liabilities.

       94.     Defendants’ statements that Centene was “implementing some best practices . . . in

terms of claims and medical management with a particular focus on California” and that “we’re

investing to revitalize our products in the individual space including in the individual PPO product

in California,” omitted that Centene was implementing these changes, investing in the PPO product

in California, and had a “particular focus on California,” because Centene had known for months



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that the California Substance Abuse Policies suffered from severe shortfalls in reserves and that

the California PPO’s flawed product policy design was “obvious” to Centene internally at the time.

       B.      Financial Statements

               1.      Defendants’ Responsibilities Under
                       GAAP And SEC Rules And Regulations

       95.     Generally Accepted Accounting Principles (“GAAP”) are the authoritative

standards, interpretations, rules, and underlying concepts established and relied on throughout the

United States as the best and most reliable financial reporting and accounting practices. SEC

Regulation S-X, to which Centene (and Health Net, prior to its acquisition) is subject as a registrant

under the Exchange Act, provides that annual and interim financial statements3 filed with the SEC

that are not prepared in compliance with GAAP are presumed to be misleading and inaccurate,

regardless of accompanying disclosures. See 17 C.F.R. § 210.4-01(a)(1) and § 210.10-01(a)

(regarding annual and interim financial statements, respectively). The SEC recognizes the

financial reporting and accounting standards of the Financial Accounting Standards Board

(“FASB”) as GAAP. See SEC Release Nos. 33-8221, 34-47743, and FR-70. SEC Rule 12b-20

requires that periodic reports contain such information as is necessary to make the required

statements, in light of the circumstances under which they are made, not misleading.

       96.     “Management is responsible for adopting sound accounting policies and for

establishing and maintaining internal control,” and “[t]he fair presentation of financial statements

in conformity with generally accepted accounting principles is an implicit and integral part of

management’s responsibility.” Public Company Accounting Oversight Board Auditing Standard




3
  “The term ‘financial statements’ as used in this part shall be deemed to include all notes to the
statements and all related schedules.” See SEC Regulation S-X, Article 1, Rule 1-01(b),
Application of Regulation S-X.

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No. 1, AU § 110.03, Distinction between Responsibilities of Auditor and Management; see also

Sarbanes-Oxley Act of 2002, §§ 302, 401, and 404.

       97.     FASB Accounting Standards Codification 805 (“ASC 805”) governs business

combinations under GAAP. ASC 805 requires that an acquirer value acquired assets and liabilities

at “fair value as of the acquisition date.” Such reporting informs investors of the acquired

business’s worth.

       98.     In certain circumstances, ASC 805 permits companies to publish preliminary

estimates of certain assets and liabilities of an acquired company, then later revise those estimates

“as of” the acquisition date to account for “new information obtained about facts and circumstances

that existed as of the acquisition date that, if known, would have affected the measurement of the

amounts recognized as of that date.” ASC 805-10-25-13. ASC 805 makes clear that such revisions

are only available for “new information” that was not known by the acquirer as of the acquisition

date. See id.; ASC 805-10-25-16; ASC 805-10-55-16.

       99.     Such post-acquisition revisions allow for favorable accounting of acquired

liabilities. Post-acquisition increases in acquired liabilities “as of” the acquisition date do not

directly impact the company’s income statement in the post-acquisition accounting period; instead,

the company records the increased liabilities by means of an increase in the acquired company’s

“goodwill.” See ASC 805-10-25-16. A company attempting to hide liabilities acquired in an

acquisition may thus attempt to use such acquisition accounting by reporting artificially low

liabilities at the time of acquisition, then later accounting for the true liabilities by adjusting

reported “goodwill.” Such accounting tactics distort a company’s balance sheet and understate a

company’s financial obligations as the company underreports liabilities at the time of acquisition.




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        100.    ASC 805 does not permit such tactics, however. It imposes a strict prerequisite on

any company using acquisition accounting that, in order to later account for material increased

liabilities “as of” the acquisition date by adjusting “goodwill,” the company must provide adequate

notice. ASC 805-20-50-4A, entitled “Disclosure,” states that when an acquirer provides initial

accounting estimates “as of” the time of the acquisition, “the acquirer shall disclose . . . [t]he assets,

liabilities, equity interests, or items of consideration for which the initial accounting is

incomplete.” Such revisions can be made only for “particular assets, liabilities, noncontrolling

interests, or items of consideration” that are so identified. Id. Because “goodwill” revisions under

ASC 805 are available only for initial accounting estimates that specify the “particular” assets,

liabilities, interests, or items that may be revised, ASC 805 provides readers of the financial

statements notice as to which accounting estimates may be revised, and thus, by exclusion, which

accounting estimates as of the acquisition date are not subject to change. See also ASC 805-10-

55-29 (requiring “[i]n accordance with paragraph 805-20-50-4A” that the acquirer make specific

disclosures as to particular asset classes of “property, plant, and equipment”).

        101.    As the SEC has made clear in public comment letters, under ASC 805-20-50-4A,

preliminary accounting statements must specify “on an item by item basis” the “specific” assets or

liabilities “that remain preliminary and what the[y] . . . relate to,” as well as “provide summarized

disclosures that discuss the potential impact of changes in the preliminary purchase price

allocations to the acquired assets and liabilities assumed from th[e] acquisition.” SEC Comment

Letter to Stericycle Inc. dated June 13, 2016 (“SEC Stericycle Letter”) (citing ASC 805-20-50-

4A). Similarly required is a statement of the “nature of any assets or liabilities that may ultimately

be recorded as part of the purchase price allocation that [the Company is] aware of and [is]

currently evaluating but waiting on additional information.” Id. The SEC has repeatedly noted



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these basic requirements, including that such financial statements should include “item by item”

explanations. SEC Comment Letter to Olin Corporation dated March 28, 2016 (“SEC Olin

Letter”) (citing ASC 805-20-50-4A). The SEC’s Financial Reporting Manual further states that

“[i]f the [company] is awaiting additional information that may impact the measurement of a

contingency of the acquired company,” then “[i]n this circumstance, the registrant should:

       1. Describe clearly the nature of the contingency;
       2. Discuss the reasons why the allocation is preliminary/provisional (e.g., identify
       the information that the registrant has arranged to obtain);
       3. Indicate when the allocation is expected to be finalized; and
       4. Furnish other available information which will enable a reader to understand the
       magnitude of any potential adjustment.

SEC Financial Reporting Manual, Division of Corporation Finance. The SEC Reporting Manual

concludes that “[i]n the absence of such disclosure, investors may assume reasonably that the

purchase price allocation is final and that all future revisions of estimated fair values of assets and

liabilities acquired will be reflected in income.”

       102.    Further strict notice requirements of ASC 805 also apply. ASC 805-20-50-4A also

requires that acquirers reporting initial estimates must disclose “[t]he reasons why the initial

accounting is incomplete” for the particular assets or liabilities at issue. The reasons must be

specific to the assets or liabilities for which the initial accounting is incomplete. See ASC 805-10-

55-29 (requiring disclosure “[i]n accordance with paragraph 805-20-50-4A” that initial accounting

is preliminary “because the appraisal of property, plant, and equipment has not yet been received”).

The SEC has repeatedly emphasized the importance of these provisions to securities issuers. See

SEC Stericycle Letter (“Your disclosures should include the reasons the accounting is incomplete

and a discussion of the information precluding the accounting from being complete on an item by

item basis.”); SEC Olin Letter (same).




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       103.    Additional accounting rules required that Centene’s reported financial statements

be accurate and up to date. ASC 954-450-30-4, Health Care Entities, Contingencies, Initial

Measurement, states that “[l]osses under prepaid health care services contracts shall be recognized

when it is probable that expected future health care costs and maintenance costs under a group of

existing contracts will exceed anticipated future premiums and stop-loss insurance recoveries on

those contracts.”    ASC 954-450-35-1, Health Care Entities, Contingencies, Subsequent

Measurement, states that “[e]stimated losses are reviewed and changed, if necessary, at each

reporting date. The amounts of the changes are recognized currently as additional expense or as a

reduction of expense.”

       104.    Fundamental accounting principles and concepts underlying GAAP also required

that Centene’s financial statements be accurate and up to date, including:

              The principle that financial reporting should provide information about an
               enterprise’s economic resources and future cash flows, the claims to those
               resources, and the effects of transactions, events and circumstances that
               change resources and claims to those resources, because investors and
               creditors depend on information about past performance to help develop and
               assess expectations about the enterprise’s future performance. Statement of
               Financial Accounting Concepts No. 8, Conceptual Framework for
               Financial Reporting (“SFAC 8”) ¶¶OB16, 18;

              The principle that financial reporting should provide information that is
               useful to present and potential investors and creditors and others in making
               rational investment, credit and similar decisions. SFAC 8, ¶BC1.25;

              The principle that to be useful, financial reporting should be relevant, timely
               and provide faithful representation of the underlying facts. “Timeliness
               means having information available to decision makers in time to be capable
               of influencing their decisions.” SFAC 8 ¶QC29. “To be useful, financial
               information not only must represent relevant phenomena, but it must also
               faithfully represent the phenomena that it purports to represent.” Id.
               ¶QC12; and

              The principle of completeness: “A complete depiction includes all
               information necessary for a user to understand the phenomenon being
               depicted, including all necessary descriptions and explanations. . . . For
               some items, a complete depiction also may entail explanations of significant

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                 facts about the quality and nature of the items, factors and circumstances
                 that might affect their quality and nature, and the process used to determine
                 the numerical depiction.” SFAC 8, ¶¶QC13.

          105.   In addition to the specific rules and principles under GAAP, SEC regulations

require that certain disclosures supplement a company’s quarterly and annual financial statements

to help investors better understand a company’s financial condition. SEC Regulation S-K, Item

303(b), Interim Periods (17 C.F.R. § 229.303), requires registrants to include a management’s

discussion and analysis in all interim period financial statements filed with the SEC, “so as to

enable the reader to assess material changes in financial condition and results of operations” for

the most recent quarter and year-to-date periods for both the current and prior year. SEC

Regulation S-K, Item 303, required that Centene:

          Describe any known trends or uncertainties that have had or that the registrant
          reasonably expects will have a material favorable or unfavorable impact on net
          sales or revenues or income from continuing operations. If the registrant knows of
          events that will cause a material change in the relationship between costs and
          revenues (such as known future increases in costs of labor or materials or price
          increases or inventory adjustments), the change in the relationship shall be
          disclosed.4

          106.   The Instructions to Item 303 state that company financial statements “shall focus

specifically on material events and uncertainties known to management that would cause reported

financial information not to be necessarily indicative of future operating results or of future

financial condition.” SEC Guidance No. 36, Management’s Discussion and Analysis of Financial

Condition and Results of Operations (“FR 36”), makes clear that disclosure is required for “known

uncertaint[ies] reasonably likely to have material future effects on [the company’s] financial

condition.” Item 303 “give[s] investors an opportunity to look at the [company] through the eyes




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    17 C.F.R. § 229.303(a)(3)(ii).

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of management by providing a historical and prospective analysis of the [company]’s financial

condition and results of operations, with particular emphasis on the registrant’s prospects for the

future.”

       107.    SEC Release 33-8040, Cautionary Advice Regarding Disclosure about Critical

Accounting Policies (codified as FRR.T.501.14), instructs registrants to comply with Regulation

S-K, Item 303(a), Management’s Discussion and Analysis of Financial Condition and Results of

Operations. When estimates are susceptible to material change, the company must discuss not just

the possibility that its estimates may turn out differently, but also (i) the factors that may cause

different outcomes, and (ii) the potential amount of variability in its significant estimates:

“Companies should provide quantitative as well as qualitative disclosure when quantitative

information is reasonably available and will provide material information for investors.” SEC

Release 33-8350.

               2.      Defendants’ False And
                       Misleading Financial Statements

       108.    On April 26, 2016, Defendants filed a Form 10-Q with the SEC. In the Form 10-Q,

Defendants stated that the purported “fair value” of certain Health Net liabilities that Centene

acquired in the merger were as follows as of March 24, 2016:

                     Medical claims liability         $1.37 billion
                     Accounts payable and             $1.928 billion
                     accrued expenses
                     Total liabilities assumed        $5.277 billion
                     Total identifiable net assets    $1.678 billion


       109.    Defendants’ statements in the Form 10-Q, identified above in ¶108, were false and

misleading. On July 26, 2016, Centene admitted that the valuations reported on April 26, 2016

were false, and reported the following “fair value” of certain Health Net liabilities that Centene



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acquired in the merger as of March 24, 2016:

                     Medical claims liability         $1.462 billion
                     Accounts payable and             $2.030 billion
                     accrued expenses
                     Total liabilities assumed        $5.488 billion
                     Total identifiable net assets    $1.433 billion


In addition, Defendants admitted that the revised, increased liability figures were not based on

“new information,” but instead were based on plan deficiencies and increased liabilities that were

known to Defendants before the merger closed. See ¶¶66-72, 76-79. Defendants also failed to

provide the notice required under GAAP for future material revisions to preliminary estimates

under acquisition accounting. See ¶¶100-02. For example, Defendants did not specify the

“particular” assets and liabilities subject to revision or “the reasons why” the initial accounting

was incomplete. See id. For these reasons, GAAP acquisition accounting under ASC 805 was

unavailable to Defendants for the changes made on July 26, 2016.

       110.    Defendants’ financial statements on April 26, 2016 also omitted the required

disclosures of “known trends or uncertainties” and “known uncertainties reasonably likely to have

material future effects on the Company’s financial condition.” See ¶¶105-07. Defendants further

omitted Health Net’s material increased liabilities on its California Substance Abuse Policies, as

well as the remedial measures that Health Net took to stall its payments to substance abuse

treatment facilities and the efforts to re-design the flawed PPO product design. See ¶¶19-35, 72;

see also ¶¶76-79. Defendants’ various omissions and misrepresentations violated Item 303, ASC

805, ASC 954-450-30-4, ASC 954-450-35-1, and SFAC 8. See ¶¶95-107.

VI.    ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

       111.    Numerous facts in addition to those discussed above further support a strong

inference that Defendants knew, or were severely reckless in disregarding, the omitted facts about


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Health Net’s liabilities, when making the false and misleading statements identified above.

       112.    Defendants admitted their knowledge of Health Net’s rising liabilities and the

efforts to control costs. During the Class Period, Defendants attempted to “mitigate any concerns

[investors] have regarding Health Net’s reserves prior to the March 24[, 2016] closing date” and

stated that there were “no surprises” during the regulatory process in California. As Defendants

later admitted, at the same time that Defendants made these statements and omitted the known

issues with Health Net’s policies, including Health Net’s poorly designed California policies,

Defendants knew of the issues, “spent . . . a lot of time confirming the medical costs,” and “all of

th[e] products” that related to the PDR, including the California PPO, “were all losing money in

2015.” See ¶¶78-79. Defendants admitted that they “personally” worked with regulators to re-

design costly policies, and that Centene had been working on the plan design “for the past several

months.” See ¶72.

       113.    Defendants engaged in extensive due diligence on Health Net leading up to the

Class Period. Defendants’ due diligence of Health Net began before the July 2, 2015 merger

announcement and continued in the months leading up to the March 24, 2016 merger closing.

Defendant Neidorff, who was a member of Centene’s Board of Directors, discussed and reviewed

Centene’s due diligence on June 23, 2015 and June 30, 2015. See ¶¶25-26. On July 1, 2015,

Evercore presented a financial analysis of Health Net to Centene’s Board. Id. Neidorff also

stressed Centene’s “disciplined approach” to the merger and that Centene would not consummate

the merger unless Health Net “meet[s] [Centene’s] financial criteria.” See ¶28. Defendants further

emphasized that Centene’s integration with Health Net spanned numerous months after the initial

due diligence, highlighting the integration during the “nine months” that elapsed between the

merger announcement and its closing. See ¶54. Centene’s review of Health Net’s business and



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financial information led to the July 26, 2016 disclosures, and Defendants’ extensive due diligence

further raises a strong inference of their scienter.

        114.    Defendants were focused on Health Net’s California policies.           Defendants

repeatedly emphasized the importance of Centene’s policies in California as a motivation for the

merger. E.g., ¶¶42-48. In the Company press release announcing the merger on July 2, 2015,

Defendant Neidorff highlighted “Health Net’s presence in California,” and on July 14, 2015,

Defendants filed with the SEC a presentation noting Health Net’s “deeper penetration in

California” as the merger’s first “growth driver.” See ¶¶27, 29. Given that the overwhelming

majority of Health Net policies were in California, Neidorff characterized Health Net as

“Centene’s California health plan.”        ¶56.    Defendants worked with California regulators

“personally” on re-designing the California policies to cut costs. ¶72. During the Class Period,

Defendants further stated that Centene was focused on the margins on Health Net’s California

policies, as “we have a big focus in California in margins on both the individual and group

commercial business” and Centene was focused on the “individual PPO product in California.”

¶61. As Defendants later disclosed, $215 million of the $390 million in Health Net liabilities

recognized on July 26, 2016 was due to increased liabilities on the California policies. ¶¶66-67.

Defendants’ focus on Health Net’s California policies before and during the Class Period further

raises a strong inference of their scienter.

        115.    Defendants frequently updated their assessment of policy liabilities. Centene’s

financial reports filed with the SEC show that the Company frequently updated its accounting for

policy reserves. For instance, the Company’s Form 10-K filed with the SEC on February 22, 2016,

stated that the Company developed medical claims liability figures in “a continuous process which

[the Company] monitor[s] and refine[s] on a monthly basis as [additional] claims receipts and



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payment information becomes available.” Defendant Schwaneke similarly stated during the

June 17, 2016 Investor Day that “[o]n a monthly basis, Centene’s finance team has been reviewing

and monitoring the medical claims reserves and development.” ¶58. Regarding “how much

information [Defendants] had” about Health Net’s liabilities, Schwaneke also stated that roughly

two months after a merger, an acquiring company has “paid 85% of the claims that you ultimately

think you’re going to pay” and “[i]n three months, it’s over 90%.” ¶62. Despite Defendants’

access to and analysis of such recent claims data, Defendants continued to understate the liabilities

that Centene assumed in the merger. Defendants frequently updated analyses of Health Net’s

policy liabilities further raise a strong inference of their scienter.

        116.    Defendants spoke repeatedly about the purported adequacy of the Health Net

reserves, and their focus on Health Net’s “opening balance sheet.” On several occasions during

the Class Period, Defendants Neidorff and Schwaneke discussed the supposed adequacy of the

reserves and liabilities reported for Health Net’s business. Defendant Schwaneke stated that

Defendants were “focused on [the] opening balance sheet and what we acquired.” ¶64. In an

effort to “mitigate any concerns . . . regarding Health Net’s reserves,” Defendants Neidorff and

Schwaneke made a series of statements highlighting “the adequacy of medical claims reserves”

and the Company’s “detailed reserve calculations by market and product that are reviewed by

multiple levels within the finance department.” ¶¶56-65. Defendants also claimed during the

Class Period that reserve levels “have developed favorably,” that “there has been no unfavorable

development on the acquired Health Net medical reserves,” and that “we haven’t seen any

unfavorable development.” Id. Defendants knew, or were severely reckless in not knowing, the

truth about Health Net’s deficient reserves and increasing liabilities.




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       117.    Defendants knew that investor and analyst attention was focused on the Health Net

acquisition and Health Net’s reserve levels. During the Class Period, securities analysts repeatedly

asked Defendants about the adequacy of the reserves established for Health Net’s policies, and

whether there had been any unfavorable development on the policies. For instance, on May 24,

2016, analyst A.J. Rice from UBS told Defendant Neidorff that the Health Net deal was “very

much front and center still on a lot of investors’ minds” and asked about the integration of Health

Net into Centene’s balance sheet. During the Company’s Investor Day in June 2016, analysts

asked numerous questions about the Health Net reserves, and Christine Arnold from Cowan and

Company said that she was “sorry to beat up on it, but it’s something that’s really on people’s

minds.” ¶63. She asked whether Defendants’ statements that there had been no negative

development on the Health Net reserves was “related to both the first quarter and 2015? Or how

did 2015 develop?” Id. Defendants again omitted the known reserve issues and increased

liabilities. Given the intense interest from analysts, the Individual Defendants were well aware

that the market was heavily relying on the accuracy of their statements.

       118.    Defendants were motivated to conceal the truth from California regulators while

seeking approval for the merger. At the same time that Health Net reacted to rising costs for claims

related to substance abuse treatment facilities by refusing to pay such claims, Defendants and

Health Net failed to inform California regulators of such actions during the ongoing discussions

with the California regulators. Full and accurate disclosures of these issues, and the related

financial impacts, would have risked action by the regulators to delay or deny their approval of the

merger, or to extract additional conditions from Centene. See ¶¶31-35, 42-47.

VII.   LOSS CAUSATION

       119.    Defendants’ materially false and misleading statements and omissions artificially

inflated the price of Centene common stock and maintained inflation in the stock price. The

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disclosures on July 26, 2016 revealed the relevant truth and removed the artificial inflation from

the stock price.

       120.    On July 26, 2016, Defendants disclosed that the “fair value” of Health Net’s

liabilities was far higher than Centene had reported on April 26, 2016. Defendants reported

increased reserves of $390 million based on experience and cost trends “existing prior to the

acquisition date” and admitted that they “knew” of the needed reserves before the merger as “it

was prior to the 24th [of March] when those things were set.” Defendants further explained that

reserve increases were due to deficient insurance policy “plan design” and that Defendant Neidorff

had “personally been involved in and pushing and discussing” changes to the policy plan design,

as Centene had been “working with the states at the highest levels to redesign the PPO product”

for “the past several months.”

       121.    The Company’s disclosures caused Centene’s stock price to decline. On July 26,

2016, the stock price declined by $6.39 per share, or approximately 8.5%, erasing over $1 billion

in market value on high trading volume.

VIII. PRESUMPTION OF RELIANCE

       122.    At all relevant times, the market for Centene’s common stock was efficient for the

following reasons, among others:

               (a)    Centene’s stock met the requirements for listing, and was listed and actively

                      traded on the New York Stock Exchange, a highly efficient and automated

                      market;

               (b)    As a regulated issuer, Centene filed periodic reports with the SEC and the

                      New York Stock Exchange;

               (c)    Centene regularly communicated with public investors via established

                      market     communication      mechanisms,    including    through    regular

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                       dissemination of press releases on the national circuits of major newswire

                       services and through other wide-ranging public disclosures, such as

                       communications with the financial press and other similar reporting

                       services; and

               (d)     Centene was followed by numerous securities analysts employed by major

                       brokerage firms who wrote reports which were distributed to those

                       brokerage firms’ sales force and certain customers. Each of these reports

                       was publicly available and entered the public market place.


       123.    As a result of the foregoing, the market for Centene’s common stock reasonably

and promptly digested current information regarding Centene from all publicly available sources

and reflected such information in the price of Centene’s common stock. All purchasers of

Centene’s common stock during the Class Period suffered similar injury through their purchase of

Centene’s common stock at artificially inflated prices, and a presumption of reliance applies.

       124.    A Class-wide presumption of reliance is also appropriate in this action under the

United States Supreme Court holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S.

128 (1972), because the claims asserted herein against Defendants are predicated upon omissions

of material fact for which there is a duty to disclose.

IX.    INAPPLICABILITY OF THE STATUTORY SAFE
       HARBOR AND BESPEAKS CAUTION DOCTRINE

       125.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances does not apply to any of the false and misleading

statements pleaded in this Complaint. The statutory safe harbor does not apply to statements

“included in a financial statement prepared in accordance with generally accepted accounting

principles.” 15 U.S.C. § 78u-5. Moreover, none of the statements complained of herein was a

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forward-looking statement. Rather, they were historical statements or statements of purportedly

current facts and conditions at the time the statements were made.

       126.    To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, those statements were not accompanied by meaningful cautionary

language identifying important facts that could cause actual results to differ materially from those

in the statements. Then-existing facts contradicted Defendants’ statements regarding the financial

condition of Health Net and related insurance reserves. Given the then-existing facts contradicting

Defendants’ statements, any generalized risk disclosures made by the Company were not sufficient

to insulate Defendants from liability for their materially false and misleading statements and

omissions.

       127.    To the extent that the statutory safe harbor does apply to any forward-looking

statements pleaded herein, Defendants are liable for those false forward-looking statements

because at the time each of those statements was made, the particular speaker knew that the

particular forward-looking statement was false, and the false forward-looking statement was

authorized and approved by an executive officer of Centene who knew that the statement was false

when made.

X.     CLASS ACTION ALLEGATIONS

       128.    Lead Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of all persons who purchased the common stock of Centene

during the Class Period (the “Class”). Excluded from the Class are (i) Defendants; (ii) members

of the immediate family of each Individual Defendant; (iii) any person who was an officer or

director of Centene; (iv) any firm or entity in which any Defendant has or had a controlling interest;

(v) any person who participated in the wrongdoing alleged; (vi) Defendants’ liability insurance

carriers; (vii) any affiliates, parents, or subsidiaries of Centene; (viii) all Centene plans that are

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covered by ERISA; and (ix) the legal representatives, agents, affiliates, heirs, beneficiaries,

successors-in-interest, or assigns of any excluded person or entity, in their respective capacity as

such.

        129.   The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Centene shares were actively traded on the New York

Stock Exchange. Throughout the Class Period, there were approximately 170.5 million shares of

Centene stock outstanding. While the exact number of Class members is unknown to Lead

Plaintiff at this time and can only be ascertained through appropriate discovery, Lead Plaintiff

believes that there are at least hundreds of thousands of members of the proposed Class. Class

members who purchased Centene common stock may be identified from records maintained by

Centene or its transfer agent(s), and may be notified of this class action using a form of notice

similar to that customarily used in securities class actions.

        130.   Lead Plaintiff’s claims are typical of Class members’ claims, as all members of the

Class were similarly affected by Defendants’ wrongful conduct in violation of federal laws as

complained of herein.

        131.   Lead Plaintiff will fairly and adequately protect Class members’ interests and has

retained competent counsel experienced in class actions and securities litigation.

        132.   Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members. Among the questions of fact and

law common to the Class are:

               (a)    whether the federal securities laws were violated by Defendants’ acts as

                      alleged herein;




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                 (b)      whether Defendants made statements to the investing public during the Class

                          Period that were false, misleading or omitted material facts;

                 (c)      whether Defendants acted with scienter; and

                 (d)      the proper way to measure damages.

          133.   A class action is superior to all other available methods for the fair and efficient

adjudication of this action because joinder of all Class members is impracticable. Additionally,

the damage suffered by some individual Class members may be relatively small so that the burden

and expense of individual litigation make it impossible for such members to individually redress

the wrong done to them. There will be no difficulty in the management of this action as a class

action.

XI.       CLAIMS FOR RELIEF

                                                COUNT I

                       For Violations Of Section 10(b) Of The Exchange Act And
                              SEC Rule 10b-5 Promulgated Thereunder
                                       (Against All Defendants)

          134.   Lead Plaintiff repeats and re-alleges each and every allegation contained above as

if fully set forth herein.

          135.   This Count is asserted on behalf of all members of the Class against Defendants

Centene, Neidorff, and Schwaneke for violations of Section 10(b) of the Exchange Act, 15 U.S.C.

§ 78j(b) and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

          136.   During the Class Period, Defendants disseminated or approved the false statements

specified above, which they knew were, or they deliberately disregarded as, misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.



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          137.   Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that they:

(a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of material

facts or omitted to state material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading; and/or (c) engaged in acts,

practices, and a course of business that operated as a fraud or deceit upon Lead Plaintiff and others

similarly situated in connection with their purchases of Centene common stock during the Class

Period.

          138.   Defendants, individually and in concert, directly and indirectly, by the use of the

means or instrumentalities of interstate commerce and/or of the mails, engaged and participated in

a continuous course of conduct that operated as a fraud and deceit upon Lead Plaintiff and the

Class; made various untrue and/or misleading statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; made the above statements intentionally or with a severely

reckless disregard for the truth; and employed devices and artifices to defraud in connection with

the purchase and sale of Centene common stock, which were intended to, and did: (a) deceive the

investing public, including Lead Plaintiff and the Class, regarding, among other things, the

financial condition of Health Net and related insurance reserves; (b) artificially inflate and

maintain the market price of Centene common stock; and (c) cause Lead Plaintiff and other

members of the Class to purchase Centene common stock at artificially inflated prices and suffer

losses when the true facts became known.

          139.   Defendants Centene, Neidorff, and Schwaneke are liable for all materially false and

misleading statements made during the Class Period, as alleged above.

          140.   As described above, Defendants acted with scienter throughout the Class Period, in



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that they acted either with intent to deceive, manipulate, or defraud, or with severe recklessness.

The misrepresentations and omissions of material facts set forth herein, which presented a danger

of misleading buyers or sellers of Centene stock, were either known to the Defendants or were so

obvious that the Defendants should have been aware of them.

        141.    Lead Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Centene common stock, which

inflation was removed from its price when the true facts became known. Lead Plaintiff and the

Class would not have purchased Centene common stock at the prices they paid, or at all, if they

had been aware that the market price had been artificially and falsely inflated by these Defendants’

misleading statements.

        142.    As a direct and proximate result of these Defendants’ wrongful conduct, Lead

Plaintiff and the other members of the Class suffered damages attributable to the material

misstatements and omissions alleged herein in connection with their purchases of Centene

common stock during the Class Period.

                                            COUNT II

                      For Violations Of Section 20(a) Of The Exchange Act
                         (Against Defendants Neidorff and Schwaneke)

        143.    Lead Plaintiff repeats and re-alleges each and every allegation contained above as

if fully set forth herein.

        144.    This Count is asserted on behalf of all members of the Class against Defendants

Neidorff and Schwaneke for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

        145.    During their tenures as officers and/or directors of Centene, each of these

Defendants was a controlling person of the Company within the meaning of Section 20(a) of the

Exchange Act. See ¶¶16-18. By reason of their positions of control and authority as officers and/or


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directors of Centene, these Defendants had the power and authority to direct the management and

activities of the Company and its employees, and to cause the Company to engage in the wrongful

conduct complained of herein. These Defendants were able to and did control, directly and

indirectly, the content of the public statements made by Centene during the Class Period, including

its materially misleading financial statements, thereby causing the dissemination of the false and

misleading statements and omissions of material facts as alleged herein.

       146.     In their capacities as senior corporate officers of the Company, and as more fully

described above in ¶¶16-18, Defendants Neidorff and Schwaneke had direct involvement in the

day-to-day operations of the Company, in reviewing and managing its regulatory and legal

compliance, and in its reporting functions. Defendants Neidorff and Schwaneke signed the

Company’s SEC filings during the Class Period, and were directly involved in providing false

information and certifying and approving the false statements disseminated by Centene during the

Class Period. As a result of the foregoing, Defendants Neidorff and Schwaneke, as a group and

individually, were controlling persons of Centene within the meaning of Section 20(a) of the

Exchange Act.

       147.     As set forth above, Centene violated Section 10(b) of the Exchange Act by its acts

and omissions as alleged in this Complaint.

       148.     By virtue of their positions as controlling persons of Centene and as a result of their

own aforementioned conduct, Defendants Neidorff and Schwaneke are liable pursuant to Section

20(a) of the Exchange Act, jointly and severally with, and to the same extent as, the Company is

liable under Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, to Lead

Plaintiff and the other members of the Class who purchased or otherwise acquired Centene

securities. As detailed above, during the respective times these Defendants served as officers



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and/or directors of Centene, each of these Defendants was culpable for the material misstatements

and omissions made by Centene.

       149.    As a direct and proximate result of these Defendants’ conduct, Lead Plaintiff and

the other members of the Class suffered damages in connection with their purchase or acquisition

of Centene common stock.

XII.   PRAYER FOR RELIEF

       150.    WHEREFORE, Lead Plaintiff prays for relief and judgment as follows:

               (a)     Declaring the action to be a proper class action pursuant to Rule 23(a) and

(b)(3) of the Federal Rules of Civil Procedure on behalf of the Class defined herein;

               (b)     Awarding all damages and other remedies available under the Exchange Act

in favor of Lead Plaintiff and all members of the Class against Defendants in an amount to be

proven at trial, including interest thereon;

               (c)     Awarding Lead Plaintiff and the Class their reasonable costs and expenses

incurred in this action, including attorneys’ fees and expert fees; and

               (d)     Such other and further relief as the Court may deem just and proper.

XIII. JURY DEMAND

       151.    Lead Plaintiff demands a trial by jury.

 Dated: July 17, 2017                                Respectfully submitted,

                                                     /s/ David R. Stickney

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of July 2017, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing to

the registered participants as identified on the Notice of Electronic Filing.



                                                      /s/ David R. Stickney
                                                       David R. Stickney




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